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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   TERRE HAUTE DIVISION

 PATRICK R. SMITH and                           )
 BRANDON S. HOLM, individually and              )
 on behalf of all others similarly situated,    )
                                                )
                Plaintiffs,                     )
                                                )
        v.                                      )       Cause No. 2:20-cv-00630-JMS-DLP
                                                )
 WILLIAM P. BARR, in his official               )
 capacity as the Attorney General of the        )
 United States, et al.,                         )
                                                )
                Defendants.                     )

                       DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
                       MOTION FOR A PRELIMINARY INJUNCTION

                                          INTRODUCTION

        Plaintiffs, two inmates at FCI Terre Haute, seek a remedy that is doubly extraordinary –

 not only do they seek to halt all federal executions, but they do so even though they themselves

 are not sentenced to death at all. And they seek this remedy based not on any alleged defects in

 the executions themselves or the criminal proceedings leading up to them. Indeed, the two

 inmates scheduled for execution next week have exhausted years of challenges to their

 convictions and sentences, along with bringing challenges to the execution protocol the federal

 government has adopted. Instead, plaintiffs here contend that temporarily bringing

 approximately one hundred people to the Terre Haute compound to conduct the executions in a

 separate building, walled off from plaintiffs’ institution, significantly increases their risk of

 COVID-19 such that it amounts to a violation of their Eighth Amendment rights.

        Plaintiffs have failed to demonstrate entitlement to the extraordinary relief they seek. As

 an initial matter, plaintiffs lack standing to bring this suit. Their alleged injury—an increase in
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 risk of contracting COVID-19—is not only speculative, but is not fairly traceable to the carrying

 out of other inmates’ lawful death sentences. This is especially so given the precautions taken

 by the Bureau of Prisons (BOP) with respect to COVID-19 generally and its actions walling off

 the execution team, to the greatest extent possible, from FCC Terre Haute inmates and staff.

 Moreover, plaintiffs have not asked this Court to require BOP to take particular additional safety

 measures, actions which might redress any risk, if it existed. Indeed, the Seventh Circuit

 recently rejected a bid by victims’ families who were planning to attend an execution to halt it

 because of their fear of contracting COVID-19. See Peterson v. Barr, 965 F.3d 549, 553 (7th

 Cir. 2020), application for stay denied, Peterson v. Barr, __ S. Ct. __, 2020 WL 3964236

 (Mem.) (July 14, 2020). Plaintiffs’ even weaker bid to halt to all federal executions should

 therefore be rejected, and the suit dismissed.

        Even assuming Article III were satisfied, plaintiffs have failed to demonstrate that they

 are likely to succeed on the merits of their Eighth Amendment claim. The Eighth Amendment

 bars only “the unnecessary and wanton infliction of pain.” Farmer v. Brennan, 511 U.S. 825,

 834 (1994). It therefore requires a showing that the risk inflicted on an inmate is, objectively,

 one that civilized society would not tolerate and a showing that the government is acting with

 deliberate indifference, which the Seventh Circuit has made clear must “approach[] a total

 unconcern for the prisoner’s welfare,” Rosario v. Brawn, 670 F.3d 816, 821 (7th Cir. 2012).

 BOP’s assiduous efforts to mitigate the risks of COVID-19, both generally and with respect to

 executions, preclude plaintiffs from making either showing, particularly given the Supreme

 Court’s repeated admonitions that courts applying the Eighth Amendment must give due regard

 to the need for prison officials to balance competing objectives. The objective that plaintiffs

 seek to preempt here—the imposition of duly imposed sentences of death for extraordinarily



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 heinous crimes—is among the weightiest conceivable.

        Because plaintiffs have not demonstrated that they are likely to succeed on the merits of

 their claims, this Court should deny injunctive relief. If the Court were to proceed to the

 remaining injunctive relief factors, however, the result would be the same. Plaintiffs have failed

 to demonstrate any likely irreparable harm from the executions—executions that do not directly

 affect them. And any alleged harm from an increased risk of COVID-19, however attenuated

 and marginal, could not possibly outweigh the long-recognized weighty public interest in

 carrying out lawful death sentences. Cf. Peterson v. Barr, 965 F.3d at 553 (rejecting request by

 victims’ family members to enjoin BOP from carrying out execution during the COVID-19

 epidemic which allegedly impaired their right to attend as witnesses).

                                         BACKGROUND

        BOP, under the supervision of the United States Marshals Service, is responsible for

 implementing federal death sentences. Exhibit 1, Dec. 4, 2020 Declaration of T.J. Watson

 (“Watson Dec.”) (ECF No. 27-1) ¶ 3; see 18 U.S.C. § 3596(a); 28 C.F.R. Part 26. The

 regulations governing federal executions authorize the BOP Director to designate the “date and

 time” at which “a sentence of death shall be executed.” 28 C.F.R. § 26.3(a). Currently,

 executions of the following inmates are scheduled: Brandon Bernard 1 on December 10, 2020;

 Alfred Bourgeois 2 on December 11, 2020; Lisa Montgomery on January 12, 2021; Cory Johnson




 1
   On October 16, 2020, Bernard was provided a notice informing him that a date has been set for
 the implementation of his death sentence.
 2
  Alfred Bourgeois was originally scheduled to be executed on January 13, 2020, but legal
 impediments prevented the government from proceeding at that time. On November 20, 2020,
 Bourgeois received a notice informing him of his current execution date.


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 on January 14, 2021; and Dustin Higgs on January 15, 2021. Watson Dec. ¶ 4. These inmates

 have exhausted years of challenges to their convictions and sentences.

        This case pertains to upcoming executions at the Federal Correctional Complex (FCC)

 Terre Haute. FCC Terre Haute is situated on approximately 1145 acres and comprises three

 separate prisons in three separate buildings: the United States Penitentiary (USP), which is a high

 security prison; the Federal Correctional Institution (FCI), which is a medium security prison, at

 which both plaintiffs reside, see Watson Dec. ¶ 7; Attachments; and the Federal Prison Camp

 (FPC), Watson Dec. ¶ 6. The grounds contain several other buildings, including a dedicated

 execution facility that is entirely separate from the prison facilities. Id. The execution facility is

 approximately one hundred feet from the FCI, and it is physically separated by perimeter fencing

 and razor wire. Id. Staff at the execution facility cannot approach anyone on FCI grounds

 because of the perimeter fencing. Id. The execution facility is approximately the equivalent of

 several city blocks from the FPC and even further away from the USP. Id.

        Since the beginning of the COVID-19 pandemic in March 2020, BOP and FCC Terre

 Haute have implemented numerous, rigorous safeguards and precautions. Watson Dec. ¶ 8. In

 doing so, BOP follows the guidance and directives of the World Health Organization, the

 Centers for Disease Control (CDC), the Office of Personnel Management, the Department of

 Justice, and the Office of the Vice President. Id. Agency-wide modified operations in response

 to COVID-19 were announced by BOP on March 13, 2020. Id.; see

 https://www.bop.gov/resources/news/20200313_covid-19.jsp. 3 These evolving modifications

 currently include the following measures, among others:


 3
   While these modifications were initially scheduled to last for 30 days, they have been extended
 a number of times. See https://www.bop.gov/resources/news/pdfs/20200414_press_release_
 action_plan_6.pdf; https://www.bop.gov/resources/news/20200520_covid-19_phase_seven.jsp;
 https://www.bop.gov/foia/docs//COVIDPhase8June30.pdf; https://www.bop.gov/foia/docs//
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            •   Temperature checks and COVID-19 screening are being conducted for staff,
                contractors, and other visitors, with those who register a temperature of 100.4°
                Fahrenheit or higher denied access to the grounds;

            •   As much as possible, staff are being assigned to the same posts and are not
                rotating;

            •   Inmate movement is limited to prevent congregating and to maximize social
                distancing. Essential inmate work details, such as Food Service, continue to
                operate with appropriate screening (i.e. temperature checks and reporting
                symptoms). Inmate movement in small numbers is authorized for use of the
                Commissary, Laundry, Showers, Telephone, to include legal calls, and for access
                to TRULINCs (email) mental health or medical care;

            •   Prior to entering the institution, or in Receiving and Discharge, all new intakes to
                an institution, including voluntary surrenders, BOP-to-BOP transfers, or transfers
                from outside the BOP system are screened by medical staff for COVID-19. This
                process includes a symptom screen, a temperature check, and an approved viral
                PCR test (either an Abbott ID NOW point-of-care [POC] test or a commercial
                PCR test) performed on a sample obtained from a nasopharyngeal, mid-turbinate,
                or anterior nares swab. Inmates who arrive symptomatic AND/OR test positive
                will be placed in MEDICAL ISOLATION. Inmates who arrive asymptomatic
                AND test negative will be placed in QUARANTINE. See
                 https://www.bop.gov/coronavirus/covid19_status.jsp.

 Watson Dec. ¶ 8.

        Implementing these BOP directives, FCC Terre Haute requires that all staff, inmates, and

 visitors wear masks inside the institution. Watson Dec. ¶ 9. Masks are provided if a visitor does

 not have one, and all visitors can be provided full personal protective equipment (PPE),

 including face shields, gowns, and gloves, if they desire. Id. Social distancing is practiced

 where possible, consistent with CDC guidelines. Id.

        FCC Terre Haute’s management educates staff regarding the importance of staying home

 if they are feeling ill and requires staff to report any COVID-19 exposure (known or suspected),




 COVIDphase9_08052020.pdf; and https://www.bop.gov/coronavirus/covid19_status.jsp.


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 as well as any positive COVID-19 test. Watson Dec. ¶ 10. If a staff member tests positive for

 COVID-19, he or she is required to stay home in compliance with current CDC guidelines. Id.

        Moreover, FCC Terre Haute has taken steps to minimize exposure risk. For example,

 staff are not permitted to move between the separate facilities and buildings at FCC Terre Haute

 unless necessary; and although facilities staff and medical staff may need to move from facility

 to facility, they are required to wear a mask at all times and maintain social distancing to the

 extent possible. Id.; Watson Dec. ¶ 9. Inmate movement within the individual institutions is

 also limited to small groups and only for services like commissary, showers, telephone, email,

 and medical appointments, and subject to appropriate screening measures. Id. ¶ 11. 4 Showers,

 phones, and surfaces are cleaned between each use and throughout the day. Id. Outside their

 cells, inmates are required to wear masks and to maintain social distance. Id. ¶ 12.

        FCC Terre Haute engages in an extensive testing program. The institution has multiple

 rapid Abbott test machines and uses them to immediately test symptomatic inmates in order to

 isolate and quarantine them more quickly. Watson Dec. ¶ 12. Rapid testing has been used to test

 symptomatic inmates, along with asymptomatic inmates who have had close contact with an

 inmate who tested positive for COVID-19. Id. If an inmate tests positive, the rest of the inmates

 on that range (row of cells) are generally tested, and, if appropriate, entire units are locked down

 (required to remain in their cells) and tested. Id. FCC Terre Haute staff are advised and

 encouraged to obtain a test if they had a known exposure or experience symptoms and are not

 permitted to return to work until they are symptom-free. Id. ¶ 23; see also id. ¶ 10 (stating that a

 staff member with a positive test must “stay home in compliance with current CDC guidelines”).


 4
   A full explanation of BOP inmate movement, both within institutions as well as between
 institutions, along with the logistics of inmate activities is available on the BOP’s website. Id.;
 see https://www.bop.gov/coronavirus/covid19_status.jsp.


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        To aid in their efforts to combat the COVID-19 epidemic, BOP and FCC Terre Haute

 maintain data on the number of positive cases and testing. Watson Dec. ¶ 13; see

 https://www.bop.gov/coronavirus/. As of December 4, 2020, the website lists 175 FCI and FCP

 inmates and staff as current positive cases, along with 24 USP inmates and 3 staff. Watson Dec.

 ¶ 13. Historical data regarding the number of positive inmate and staff cases can be found at

 https://oig.justice.gov/coronavirus. Watson Dec. ¶ 14. The historical chart for FCI Terre Haute

 as of December 4 is available infra II.B.1.

        FCC Terre Haute has also taken numerous steps to prevent transmission of COVID-19

 between individuals involved in an execution and the general prison population. Although it is

 difficult to predict with certainty for any particular execution, BOP estimates that approximately

 50 to 125 individuals, including the BOP’s execution team, state and local law enforcement, and

 various witnesses, and demonstrators will travel to FCC Terre Haute. Watson Dec. ¶ 16. Non-

 BOP personnel such as media, witnesses, legal counsel, and Ministers of Record are not

 permitted to enter the FCI, or to interact with any FCC Terre Haute inmate other than the

 condemned inmate. Id. ¶ 19. Any visits with the condemned inmate take place outside the

 presence of other inmates, either in the SCU, which is located at the USP, or the execution

 facility. Id. During such visits, visitors are required to wear masks and to the extent possible

 remain socially distanced. Id. Moreover, all individuals arriving at FCC Terre Haute will be

 temperature checked and screened, id., and denied entry if they register a temperature of 100.4

 degrees Fahrenheit or higher, id. ¶ 8.

        BOP has also put in place measures to ensure that the execution team remains almost

 entirely separate from the prison facilities and their inmates and staff. That team comprises




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 approximately 40 BOP employees from locations other than FCC Terre Haute. 5 Watson Dec.

 ¶ 17. Although it is not possible for the team to quarantine before participating in the execution,

 as they generally arrive only a few days prior to a scheduled execution and must complete

 various time-sensitive tasks upon their arrival, the risk is minimized by maintaining separation

 between the execution team and the inmates and staff who work at FCC Terre Haute to the

 greatest extent possible. Id. The execution team is primarily engaged in duties in and around the

 execution facility, and inmate interactions are limited to the inmate housed at the execution

 facility. Id.

         Although there have been occasional needs in the past for a member of the execution

 team to enter the FCI, USP, or FPC, this practice is minimized to the greatest extent possible.

 Watson Dec. ¶ 17. Of course, members of the execution team must pass through security check

 points, be screened for COVID-19, and perform other administrative tasks that involve FCC

 Terre Haute staff, and FCC Terre Haute staff may be assigned to such duties. See id. ¶ 22. Such

 interactions are infrequent and usually quite brief, and during all such interactions, BOP staff are

 required to wear masks and to the extent possible remain socially distanced. Id. ¶¶ 17, 22. In

 addition, in the days leading up to an execution, the FCC Terre Haute inmate population is

 locked down, thereby minimizing the interaction between inmates, as well as the interaction

 between inmates and staff. Id. ¶ 15.

         Although execution witness rooms are small, full PPE is available to all members of the

 execution team while at FCC Terre Haute, including fit-tested N-95 masks, gloves, gowns, and

 face shields, and all team members must remain masked. Watson Dec. ¶ 20. Other individuals


 5
  In past executions, a number of security and support personnel such as Special Operations
 Response Teams (SORT) and Disturbance Control Teams (DCT) also travelled to FCC Terre
 Haute from other BOP institutions. Watson Dec. ¶ 18. However, such personnel are not
 scheduled to travel to Terre Haute for upcoming executions. Id.
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 who attend an execution, including attorneys, media, and witnesses, are required to wear masks

 and will be provided PPE if they request it. Id.

        Additionally, demonstrators may be present at an execution in a designated area on FCC

 Terre Haute grounds. Watson Dec. ¶ 21. However, no demonstrators have chosen to come into

 FCC Terre Haute grounds with respect to recent executions, instead electing to demonstrate in an

 area across the street from FCC Terre Haute. Id. If demonstrators were to come onto BOP

 property, they would be screened and temperature checked, as well as screened for security

 purposes, by FCC Terre Haute staff off-site, and then transported to the demonstration area by

 FCC Terre Haute staff. Id. That demonstration area is near the main public road and not near

 any of the prison buildings. Id.

        After an execution, BOP execution team members are afforded an opportunity to test for

 COVID-19. Watson Dec. ¶ 23. After past executions, approximately 5-7 members of the BOP

 execution team historically elected to be tested prior to returning to their home communities. Id.

                                           ARGUMENT

  PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION SHOULD BE DENIED

 I.     STANDARD OF REVIEW

        A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

 clear showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council,

 Inc., 555 U.S. 7, 22 (2008). It is “never awarded as of right,” Munaf v. Geren, 553 U.S. 674, 690

 (2008), and “should not be granted unless the movant, by a clear showing, carries the burden of

 persuasion,” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (citation omitted).

        To obtain a preliminary injunction, “a plaintiff must establish that [he] has some

 likelihood of success on the merits; that [he] has no adequate remedy at law; [and] that without

 relief [he] will suffer irreparable harm.” GEFT Outdoors, LLC v. City of Westfield, 922 F.3d
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  357, 364 (7th Cir. 2019) (citation and quotation marks omitted). “If the plaintiff fails to meet

  any of these threshold requirements, the court must deny the injunction.” Id. (citation and

  quotation marks omitted); accord Lankford v. Talbot, No. 1:18-cv-03935-JMS-TAB, 2020 WL

  2128580, at *1 (S.D. Ind. May 5, 2020) (quoting same). Only after a plaintiff passes this

  threshold must a court “weigh the harm that the plaintiff will suffer absent an injunction against

  the harm to the defendant from an injunction, and consider whether an injunction is in the public

  interest.” GEFT Outdoors, 922 F.3d at 364 (citation and quotation marks omitted).

         The Seventh Circuit “‘employs a sliding scale approach’ for this balancing: if a plaintiff

  is more likely to win, the balance of harms can weigh less heavily in its favor, but the less likely

  a plaintiff is to win the more that balance would need to weigh in its favor.” Id. (citation and

  quotation marks omitted). A plaintiff “seeking preliminary relief [must] demonstrate that

  irreparable injury is likely,” not merely possible, “in the absence of an injunction.” Winter, 555

  U.S. at 22. As discussed below, plaintiffs have failed to make the requisite showing.

  II.    PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THE MERITS

         A.      Plaintiffs Lack Standing

         As a threshold matter, plaintiffs’ suit should be dismissed for lack of standing, as the

  relief they request is an injunction barring another inmate’s lawful execution and they have

  failed to connect that execution with any concrete injury they will experience. An “essential

  and unchanging part of the case-or-controversy requirement” in the Constitution is that a

  plaintiff must establish Article III standing to sue. Lujan v. Def. of Wildlife, 504 U.S. 555, 560

  (1992). Stated succinctly, plaintiffs must demonstrate “injury in fact, causation, and

  redressability.” Lance v. Coffman, 549 U.S. 437, 439 (2007) (per curiam). The plaintiff bears

  the burden of establishing each of the three elements. See Lujan, 504 U.S. at 561.


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         Where—as here—the relief sought is wholly prospective, a plaintiff must demonstrate

  a risk of future injury that is both “real” and “immediate” and neither “conjectural” nor

  “hypothetical.” City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983). Thus, plaintiffs must

  demonstrate the existence of a future “threatened injury [that is] ‘certainly impending.’”

  Clapper v. Amnesty Int’l USA, 568 U.S. 398, 401 (2013) (quoting Whitmore v. Ark., 495 U.S.

  149, 158 (1990)). Plaintiffs fail to meet their burden to establish, as a factual matter, a

  certainly impending future injury here.

                 1.      Plaintiffs Have Failed to Allege Sufficient Injury In Fact

         To satisfy the “injury in fact” requirement, plaintiffs must allege an imminent threat of

  concrete injury and demonstrate that the alleged injury “affect[s] [them] in a personal and

  individual way.” Fox v. Dakkota Integrated Sys., LLC, --- F.3d ---, No. 20-2782, 2020 WL

  6738112, at *4 (7th Cir. Nov. 17, 2020) (quoting Lujan, 504 U.S. at 560 n.1). While

  threatened injury can satisfy Article III standing requirements, the threat must be credible,

  non-speculative, and concrete. See, e.g., Clapper, 568 U.S. at 409.

         Plaintiffs speculate that individuals attending executions in the execution facility at

  Terre Haute may be infected with COVID-19, see Pl. Memo. at 3, and may therefore spread

  COVID-19 to others at FCC Terre Haute. But this speculation fails to carry plaintiffs’ burden

  to demonstrate “certainly impending” injury-in-fact to plaintiffs. See Clapper, 568 U.S. at

  401. As explained in BOP’s declaration, all visitors to Terre Haute must undergo a

  temperature check and COVID-19 screening upon arrival and will be denied entry if their

  temperature is 100.4 degrees Fahrenheit or higher, see Watson Dec. ¶¶ 8, 22, and all visitors

  and staff must wear masks and where possible practice social distancing, id. ¶¶ 9, 19, 22.

  Moreover, visitors can be provided full personal protective equipment if requested;



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  interactions between the execution team and Terre Haute staff are brief and infrequent; all

  staff are required to wear masks and remain socially distanced where possible during all such

  interactions, see id. ¶¶ 9, 17.

          To support their alleged injury in fact, plaintiffs rely on a speculative chain of causation,

  each step of which the BOP declaration refutes. As explained, BOP screens those arriving at

  FCC Terre Haute for COVID-19. Watson Dec. ¶ 8. Non-BOP-execution-staff visitors are

  barred from entering the FCI, USP, or FCP, and their interactions with FCC Terre Haute staff are

  limited to checkpoints, screening and similar interactions. Id. ¶ 17. The execution team is

  similarly walled off from the general prison population and staff to the maximum extent

  possible—the execution team does not enter FCI, USP, or FCC to the greatest extent possible

  and minimizes execution-related visits to those facilities, generally does not interact with any

  inmates other than the inmate housed at the execution facility, and does not carry out duties

  specific to FCC Terre Haute while on the grounds. Id. And all visitors to the facility are

  required to wear masks at all times and engage in social distancing to the extent possible, thereby

  further minimizing the risk of spread. Id. ¶ 9. Thus, plaintiffs have failed to demonstrate that,

  even if an individual attending the execution had COVID-19, it would be transmitted to inmates

  in the FCI and they would contract COVID-19 and become symptomatic. Their chain of events

  is far too attenuated and speculative to constitute “concrete” and “actual or imminent” injury.

  Moreover, “in American jurisprudence at least, a private citizen lacks a judicially cognizable

  interest in the prosecution or nonprosecution of another.” Linda RS v. Richard D., 410 U.S. 614-

  619 (1973).

                  2.      Plaintiffs’ Risk of Contracting COVID-19 Is Not Fairly Traceable To
                          The Actions Of Defendants

          “[A] federal court [can] act only to redress injury that fairly can be traced to the

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  challenged action of the defendant, and not injury that results from the independent action of

  some third party.” Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 41–42 (1976).

  Importantly, plaintiffs seek in this litigation not increased protections to minimize risk from

  COVID-19 spread, but the halting of all federal executions. However, it is “substantially more

  difficult” to obtain relief “when the plaintiff is not himself the object of the government action or

  inaction he challenges.” Lujan, 504 U.S. at 562. 6 The government action challenged here is

  targeted at other inmates; plaintiffs bear a heavy burden in demonstrating that they have standing

  to challenge it based on the incidental effects of that government action.

         Plaintiffs cannot meet that burden. The unfortunate risk that inmates will become

  infected exists regardless of whether executions take place at Terre Haute. As plaintiffs observe,

  COVID infections are prevalent throughout “Vigo County, and across the country,” see Pl.

  Memo. at 4; see also id. at 7 (“more than 13 million people in the United States have tested

  positive” and Indiana “has recently see ‘single-day records of reported cases’”). Indeed, the

  “recent surges in positive cases . . . are being seen nationwide and in Indiana.” Id. at 20.

  Plaintiffs further assert that all prisons “have proven to be hotspots for COVID-19 outbreaks.”

  Id. at 8. And, on plaintiffs’ telling, the sources of infection are multifold. See id. at 3 n.4

  (alleging that spread is caused by inmates “coming in and out of the [Terre Haute] facility”). In

  the midst of a nationwide surge in the infection rate, and given the particular challenges that all

  prisons and communal living facilities face, the risk exists that Terre Haute staff and inmates

  may become infected regardless of whether executions take place, despite BOP’s diligent efforts.



  6
   See, e.g., AID v. AOSI, 140 S. Ct. 2082, 2087 (2020) (corporation cannot raise a First
  Amendment claim about restrictions on the speech of the corporation’s legally separate
  subsidiary); Kerry v. Din, 135 S. Ct. 2128, 2134–36 (2015) (plurality opinion) (U.S. citizen
  cannot raise a due-process claim about the denial of a visa to an alien spouse); cf. Peterson v.
  Barr, 965 F.3d 549, 553 (7th Cir. 2020).
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  In view of the rigorous safety measures BOP has implemented to protect inmates, Watson Dec.

  ¶¶ 8-12, 15-17, 19-23, and the fact that executions take place in a building that is separated by a

  fence and razor wire from plaintiffs’ facility, id. ¶ 6, with minimal interaction among execution

  staff and regular staff, id. ¶¶ 17, 22, it cannot be reasonably concluded that plaintiffs’ risk of

  becoming infected with COVID-19 is fairly traceable to the executions. See also infra II.B.1.

                 3.      Plaintiffs’ Alleged Harms Cannot Be Redressed By The Relief Sought

         Plaintiffs must also demonstrate that the requested relief will remedy their injury. See E.

  Ky. Welfare Rights Org., 426 U.S. at 43. Here, the relief plaintiffs seek is disconnected from the

  claims they assert. If plaintiffs were interested in stopping the spread of COVID-19 in prisons,

  they would seek an injunction requiring particular safety protocols, and that is the outer limit of

  relief that Article III would even possibly permit. See Gill v. Whitford, 138 S. Ct. 1916, 1931

  (2018) (any remedy ordered by a federal court “must of course be limited to the inadequacy that

  produced the injury in fact that the plaintiff has established”).

          Plaintiffs instead seek to enjoin the executions themselves—a remedy that is both

  overinclusive (because it stops executions even if they can be carried out in a safe way) and

  underinclusive (because it fails to address COVID-19 risks that arise from sources other than

  executions). See Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994) (noting that

  equitable principles require that any relief “be no more burdensome to the defendant than

  necessary to provide complete relief to the plaintiffs”). Plaintiffs have standing only to request

  relief that will redress their alleged harms, i.e., the risk of COVID-19 infection, and lack standing

  to seek a postponement of executions whose effects on plaintiffs are speculative at best. Cf.

  Bucklew v. Precythe, 139 S. Ct. 1112, 1134 (2019) (“Last-minute” impediments to scheduled

  executions “should be the extreme exception,” and “‘the last-minute nature of an application’


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  that ‘could have been brought’ earlier, or” a litigant’s “‘attempt at manipulation,’” could justify

  allowing an execution to proceed) (citation omitted). That conclusion is especially so given the

  disconnect between the executions and risk of COVID-19 spread in the facilities, see supra. 7

         B.      The Eighth Amendment Claim Must Fail

         Even if they had standing, plaintiffs would be unlikely to succeed on their novel Eighth

  Amendment claim, that carrying out a capital sentence on another prisoner at another facility

  amounts to cruel and unusual punishment of plaintiffs because it allegedly increases the risk that

  plaintiffs will contract and be injured by COVID-19. To succeed on their claim that this alleged

  condition of their confinement will violate the Eighth Amendment, plaintiffs must show two

  things. First, they must show “a deprivation that is, from an objective standpoint, sufficiently

  serious that it results ‘in the denial of the minimal civilized measure of life’s necessities.’” Gray

  v. Hardy, 826 F.3d 1000, 1005 (7th Cir. 2016) (quoting Farmer, 511 U.S. at 834). That

  “requires more than a scientific and statistical inquiry into the seriousness of the potential harm

  and the likelihood that such injury to health will actually be caused”; it requires a showing that

  “society considers the risk that the prisoner complains of to be so grave that it violates

  contemporary standards of decency to expose anyone unwillingly to such a risk.” Helling v.

  McKinney, 509 U.S. 25, 36 (1993). Second, they must show that “prison officials are

  deliberately indifferent to this state of affairs.” Gray, 826 F.3d at 1005 (quoting Farmer, 511

  U.S. at 834). They cannot satisfy either standard, which is no surprise, as numerous federal



  7
    And to the extent plaintiffs have brought this suit to prevent “‘super-spreader’ events that
  endanger innocent third-parties in and out of prison,” see Pl. Memo. at 4, they lack standing to
  represent “the public at large.” Lujan, 504 U.S. at 573–74 (“[A] plaintiff raising only a generally
  available grievance about government—claiming only harm to his and every citizen’s interest in
  proper application of the Constitution and laws, and seeking relief that no more directly and
  tangibly benefits him than it does the public at large—does not state an Article III case or
  controversy.”).
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  courts across the country have repeatedly rejected claims—Eighth Amendment and otherwise—

  from inmates claiming that BOP’s COVID-mitigation efforts were legally insufficient. 8

                 1.     Plaintiffs Cannot Show That the Executions Would Deprive Inmates
                        at Nearby Facilities of the Minimal Civilized Measure of Life’s
                        Necessities

         On the first requirement of a deliberate-indifference claim, plaintiffs fail to show that the

  carrying out of scheduled executions at a facility separate from the one in which they are

  incarcerated will expose either of them to “conditions posing a substantial risk of serious harm,”

  Farmer, 511 U.S. at 834, “so grave that it violates contemporary standards of decency to expose

  anyone unwillingly to such a risk,” Helling, 509 U.S. at 36. Plaintiffs cannot meet this burden

  merely by showing that they are already at risk—even a “substantial risk,” Farmer, 511 U.S. at

  834—for COVID infection, and that COVID infection is a “serious harm”; this lawsuit does not

  challenge their confinement generally or the protocols in place to prevent COVID transmission

  at the FCI. Instead, plaintiffs are challenging only a single condition of their confinement—the




  8
    Wilson v. Williams, 961 F.3d 829, 841 (6th Cir. 2020) (BOP had responded reasonably to the
  risk posed by COVID-19 and therefore had not been deliberately indifferent to the inmates’
  Eighth Amendment rights”); Hallinan v. Scarantino, No. 5:20-HC-2088-FL, slip op. 29
  (E.D.N.C. June 11, 2020) [ECF No. 62] (same); Wragg v. Ortiz, No. 20-cv-5496, slip op. 64-65
  (D.N.J. May 27, 2020) [ECF No. 40] (same); Chunn v. Edge, 465 F. Supp. 3d 168, 202
  (E.D.N.Y. 2020) (same); Bowman v. Sawyer, No. 1:19-cv-1411, slip op. 4 (D. Colo. May 27,
  2020) [ECF No. 78] (public interest did not favor granting inmate’s request for preliminary
  injunction barring the addition of new inmates to the facility to prevent overcrowding in light of
  COVID-19); Grinis v. Spaulding, No. 20-cv-10738, slip op. 4-5 (D. Mass. May 8, 2020) [ECF
  No. 45] (finding no deliberative indifference to the health risks of inmates due to COVID-19);
  Jones v. Bergami, No. 20-cv-132, slip op. 3-4, 6 (W.D. Tex. May 21, 2020) [ECF No. 2] (noting
  BOP’s measures to reduce risk of COVID-19 transmission and holding that the court should not
  manage BOP’s response to the pandemic); Livas v. Myers, No. 20-cv-422, slip op. 17 (W.D. La.
  April 22, 2020) [ECF No. 30] (declining to superintend BOP’s operation of the prison by
  granting inmate’s request for lesser form of detention in light of COVID-19); Cf. Valentine v.
  Collier, 956 F.3d 797, 802 (5th Cir. 2020) (plaintiffs were unlikely to establish deliberate
  indifference when prison officials were taking measures “informed by guidance from the CDC
  and medical professionals”).
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  scheduled executions of other inmates, at another facility, which plaintiffs believe will have the

  incidental effect of increasing their own chances of contracting COVID. For the executions to

  create a sufficient injury to plaintiffs to support an Eighth Amendment claim, plaintiffs must

  show that the alleged increase in their risk of contracting COVID is a “substantial risk.” Id.

         Plaintiffs fail to establish that conducting executions at the execution facility will

  “substantial[ly]” increase the risk that they, inmates at the separate FCI Terre Haute facility, will

  contract and be injured by COVID—much less that it will increase the risk to an extent “so

  grave” that in “today’s society” it would “violate[] contemporary standards of decency to expose

  anyone unwillingly to [it].” Helling, 509 U.S. at 36. Health risks associated with COVID-19

  persist throughout the United States, confronting not only inmates, but also essential workers and

  many others outside prisons. As explained, BOP has taken numerous and increasing measures,

  in reliance on CDC guidance for mitigating the risks of serious injury in correctional facilities, to

  protect inmates at Terre Haute. See Watson Dec. ¶ 8; CDC, Guidance for Correctional and

  Detention Facilities (Dec. 4, 2020), https://www.cdc.gov/coronavirus/2019-

  ncov/community/correction-detention/guidance-correctional-detention.html (CDC Guidance).

  The Seventh Circuit recently emphasized that, in assessing whether a particular aspect of a

  prison’s COVID response poses an objectively unreasonable risk for purposes of a Fourteenth

  Amendment claim by pretrial detainees, a court must take into account “the totality of the

  measures the [government has] taken to combat the spread of COVID-19.” Mays v. Dart, 974

  F.3d 810, 820 (7th Cir. 2020). Particularly in light of the many precautions BOP has taken,

  plaintiffs cannot prove that carrying out the scheduled executions under existing protocols will

  expose plaintiffs to a risk substantially in excess of those they already face.

         Plaintiffs observe that executions cause people to travel and congregate and interact with



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  members of the public and with one another, and they theorize that an execution could become a

  “super-spreader event,” but they cite no evidence that the scheduled executions pose that risk,

  much less that either plaintiff faces a “sufficiently substantial” risk to trigger Eighth Amendment

  scrutiny. Farmer, 511 U.S. at 834 n.3; see also Helling, 509 U.S. at 36 (to determine whether

  prison officials violated inmate’s Eighth Amendment rights by allowing his cellmate to expose

  him to secondhand smoke, must examine both “the seriousness of the potential harm and the

  likelihood that such injury to health will actually be caused”). As described below, BOP is

  working assiduously to mitigate the risks to inmates from the COVID pandemic, both as a

  general matter and with respect to executions in particular. See infra II.B.2. Plaintiffs cannot

  grind the wheels of prison administration to a halt based on a speculative and evidence-free

  contention that any movement of people through a prison facility during the COVID pandemic

  supports an Eighth Amendment claim simply because BOP can only mitigate, and cannot

  entirely eliminate, the risks.

          Plaintiffs’ other purported evidence of increased risk fares no better. In suggesting that

  future executions will increase the rate of COVID infection, plaintiffs appear to contend that past

  executions have caused “spikes in COVID cases at FCC Terre Haute” and “in Vigo County.” Pl.

  Memo. at 18; see also ECF No. 13-1 ¶ 60 (Goldenson declaration). The purported expert

  declaration of Joe Goldenson asserts, based on a graph taken from Vigo County’s Facebook

  page, that infections increased after previous executions took place. A declaration by ACLU

  attorney Cassandra Stubbs is to similar effect. See ECF No. 13-27. But plaintiffs provide no

  evidence that those increases—unfortunately shared in common by so much of the country—

  were caused by the executions. Goldenson—a physician who does not purport to be an

  epidemiologist or statistician—has not even attempted to demonstrate that the graph he obtained



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  from Facebook shows causation.

         And indeed, the available evidence is to the contrary. The DOJ Office of the Inspector

  General maintains a COVID positivity tracker dashboard that permits any user to view a graph of

  the number of active COVID cases at a particular facility over time. Watson Dec. ¶ 14.

  Executions were conducted at Terre Haute on July 14, 16, and 17, 2020; August 26 and 28,

  2020; September 22 and 24, 2020; and November 19, 2020. See

  https://www.bop.gov/about/history/federal_executions.jsp. Rather than showing a “spike” after

  executions, the chart for FCI Terre Haute shows that the number of inmates reported infected

  with COVID remained low after the July executions and decreased after the two September

  executions, and then began rising again only in November, long after the most recent executions

  but still well in advance of the November 19 execution. While there was an increase in detected

  COVID cases at Terre Haute in late August and September, the absence of any similar effect

  after other executions belies a causal link to the August 2020 executions. The evidence therefore

  indicates that the presence of individuals at the Terre Haute execution facility does not pose a

  substantial risk of infecting inmates at other facilities within FCC Terre Haute. The chart from

  the Office of the Inspector General is reproduced below from the version online the afternoon of

  December 4.




         Goldenson’s other assertions are simply irrelevant to whether the scheduled executions



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  will increase plaintiffs’ risk of contracting COVID. His assertions about the conditions in often-

  unspecified “jails, prisons, and detention centers,” ECF No. 13-1 ¶ 20, are not focused on the

  protocols in place for the executions at issue here; they instead appear designed to serve an

  argument that incarceration in prison is itself excessively dangerous during the COVID

  pandemic, a proposition for which he has submitted declarations in numerous other cases but that

  plaintiffs have not urged here. 9 Goldenson’s complaints do not bear on whether the scheduled

  executions, which take place at an entirely separate facility from plaintiffs’, will materially

  increase plaintiffs’ chances of contracting COVID. Indeed, Goldenson’s repeated declarations

  across the country and in this litigation that COVID is a recurring problem for correctional

  facilities undermine his claim that the COVID cases at FCC Terre Haute are attributable to its

  unique status as the site of federal executions.

         In their brief, plaintiffs perform a similar analysis to Goldenson’s on another bar graph,

  this one showing just COVID positivity in Vigo County. ECF No. 14 at 18–19. This graph

  likewise offers no support for a causal relationship, showing the same deficiencies as

  Goldenson’s. Plaintiffs do not demonstrate that Vigo County’s infection rate after executions

  rose more or in different patterns than other Indiana counties.

         Especially illuminating of the failure to show increased risk is the declaration of Yusuf

  Ahmed Nur, ECF No. 13-29, who attended the execution on November 19. He then tested

  positive for COVID on a test that was administered on November 27. Plaintiffs state that he

  “almost certainly contracted the disease in connection” with the earlier execution, Pl. Memo. at

  16, but Nur’s declaration supports no such conclusion. Instead, he lists numerous activities he



  9
   See, e.g., Wragg v. Ortiz, 462 F. Supp. 3d 476 (D.N.J. 2020); Hallinan v. Scarantino, 466 F.
  Supp. 3d 587 (E.D.N.C. 2020); Lucero-Gonzalez v. Kline, 464 F. Supp. 3d 1078 (D. Ariz. 2020);
  United States v. Garcia, 460 F. Supp. 3d 403 (S.D.N.Y. 2020).
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  undertook involving other individuals after the execution and before his November 27 positive

  test: he visited a funeral home with the deceased inmate’s three sons (ECF No. 13-29 ¶ 22)

  where he also interacted with the funeral home director (id.), he spent an unspecified amount of

  time working in a small room filled with several dead bodies (id. ¶ 23), he interacted an

  unspecified number of times with his three children of unspecified age whose own movements

  and potential exposures are undetailed (id. ¶ 30), and he went into public an unspecified number

  of times under unspecified circumstances (id.). And, even if Nur had contracted COVID in

  connection with the execution, 10 plaintiffs have not shown that an execution in a separate facility

  substantially increases the risk that Terre Haute inmates will contract COVID. If anything, if

  Nur was COVID-positive or in contact with a COVID-positive person during the execution, the

  lack of any data showing an infection spike at FCI Terre Haute following the November 19

  execution would show that inmates at FCI Terre Haute are not at a substantially increased risk of

  contracting COVID even if a COVID-positive person attends the execution.

         Finally, the caselaw cited by plaintiffs does not establish that the objective prong of the

  deliberate-indifference standard is always satisfied in cases involving COVID. In Wilson v.

  Williams, the Sixth Circuit was faced with a claim that merely being confined at Elkton Federal

  Correctional Institution and its satellite facility led a medically vulnerable subclass to have a high

  risk of exposure to COVID that entitled them to release or transfer. 961 F.3d 829, 832–33 (6th

  Cir. 2020). The Sixth Circuit held that the objective prong was satisfied, because plaintiffs

  provided evidence that the conditions of confinement at those facilities—including the

  dormitory-style housing— meant that they were “incarcerated under conditions posing a




  10
    It is defendants’ understanding that two officials briefly removed their masks before the
  execution to make a statement so that it could be communicated clearly.
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  substantial risk of serious harm.” Id. at 840 (quoting Farmer, 511 U.S. at 834). Here, plaintiffs

  are making a different claim that one particular aspect of their confinement—that they are

  confined in a facility near a different facility where the executions will take place—is itself

  increasing the risk of COVID. It is undisputed that COVID is a serious disease, but plaintiffs

  still must show that the challenged condition of confinement—the holding of executions—poses

  a substantial risk that they will suffer that serious disease.

          In sum, plaintiffs have failed to carry their burden. To show a likelihood of success on

  their Eighth Amendment claim, they must prove that the executions of other individuals at a

  separate facility are a condition of plaintiffs’ confinement that poses a substantial risk to

  plaintiffs. But they have offered only speculation that the temporary presence of additional

  personnel and members of the public at a separate facility from plaintiffs’ will somehow cause a

  chain reaction of COVID infections that may eventually wind its way to plaintiffs. That

  prediction of increased risk is too low and attenuated from plaintiffs, particularly in light of the

  many precautions BOP is taking with respect to both executions and prison operations more

  generally, to support an Eighth Amendment claim.

                  2.      Defendants Are Not Acting With Deliberate Indifference

          Even if plaintiffs could show that carrying out an execution in the separate execution

  facility so increased their risk of contracting COVID as to violate contemporary standards of

  decency, they cannot show that defendants are acting with deliberate indifference to that risk.

  Deliberate indifference imposes a “high hurdle,” requiring a showing “approaching a total

  unconcern for the prisoner’s welfare.” Rosario, 670 F.3d at 821. “[T]he conduct must be

  reckless in the criminal sense”; negligence and even gross negligence do not suffice. Lee v.

  Young, 533 F.3d 505, 509 (7th Cir. 2008). More generally, prison officials’ conduct is judged



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  based on “the constraints facing the official,” Wilson v. Seiter, 501 U.S. 294, 303 (1991), and

  managing a prison while combating a novel virus requires officials to balance competing

  interests. See id. (explaining that the deliberate-indifference test applies in medical contexts

  because “the State’s responsibility to attend to the medical needs of prisoners does not ordinarily

  clash with other equally important governmental responsibilities”). One of those interests is the

  Government’s strong interest in carrying out its capital sentences. See infra IV.

         The Supreme Court has repeatedly affirmed that the Eighth Amendment does not

  authorize courts to superintend prison officials’ decisions about how to balance competing

  interests within the constraints of the prison setting. Prison officials act with deliberate

  indifference in violation of the Eighth Amendment only if they “know[] of and disregard[] an

  excessive risk to inmate health or safety,” a standard that “incorporates due regard for [officials’]

  unenviable task of keeping dangerous men in safe custody under humane conditions.” Farmer,

  511 U.S. at 837, 845 (quotation marks omitted). As the Seventh Circuit has recently

  emphasized, “[c]orrectional administrators must have ‘substantial discretion to devise reasonable

  solutions to the problems they face,’” and courts must give “considerable deference . . . to the

  judgment of prison administrators” about how to balance competing objectives. Mays, 974 F.3d

  at 820–21 (quoting Florence v. Board of Chosen Freeholders of County of Burlington, 566 U.S.

  318, 326 (2012)); see also Battista v. Clarke, 645 F.3d 449, 453 (1st Cir. 2011) (noting that the

  Eighth Amendment “leav[es] ample room for professional judgment, constraints presented by the

  institutional setting, and the need to give latitude to administrators who have to make difficult

  trade-offs as to risks and resources”). The Supreme Court has accordingly emphasized that

  courts must use “caution” in issuing injunctions in the prison context and may not “enmesh[]”

  themselves “in the minutiae of prison operations.” Farmer, 511 U.S. at 846-47.



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         Likewise, the Supreme Court has made clear during this pandemic that the responsibility

  for responding to COVID-19 belongs primarily to the political branches. See, e.g., Valentine v.

  Collier, No. 19A1034 (denying application to vacate stay in prison COVID-19 case); Valentine

  v. Collier, No. 20A70 (same); South Bay Pentecostal Church v. Newsom, No. 19A1044 (Roberts,

  C.J., concurring in denial of application for injunctive relief) (“Our constitution principally

  entrusts ‘[t]he safety and the health of the people’ to the politically accountable officials of the

  States to guard and protect. … When those officials ‘undertake[] to act in areas fraught with

  medical and scientific uncertainties,’ their latitude ‘must be especially broad.’ … Where those

  broad limits are not exceeded, they should not be subject to second-guessing by an ‘unelected

  federal judiciary,’ which lacks the background, competence, and expertise to assess public health

  and is not accountable to the people.”). Courts should be exceedingly cautious in taking upon

  themselves the duty to orchestrate the nation’s responses to the COVID pandemic.

         As discussed, plaintiffs are challenging the decision to proceed with federal executions,

  claiming that that particular decision is a condition of confinement that violates the Eighth

  Amendment. They must therefore show that defendants are deliberately ignoring the risk posed

  by proceeding with executions. But precautions taken by BOP to reduce the spread of COVID,

  both at FCC Terre Haute generally and in administering executions in particular, show that—far

  from acting with “total unconcern for . . . prisoner[s’] welfare,” Rosario, 670 F.3d at 821—the

  Bureau is working assiduously to mitigate the risks of COVID within the inmate population.

         BOP’s precautions surrounding executions reflect a concerted effort to prevent the spread

  of COVID. Consistent with BOP’s more general practices, members of the execution team, BOP

  staff, and visitors and other members of the public undergo temperature checks and COVID

  screening before entering FCC Terre Haute, and they must wear masks at all times, including



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  during an execution. Watson Dec. ¶¶ 8, 9, 16, 20, 22. While demonstrators have not previously

  chosen to enter FCC Terre Haute grounds, they would likewise have to undergo COVID

  screening if they did so. Id. ¶ 21.

         “To the greatest extent possible,” the execution team does not enter the FCI (where

  Plaintiffs are housed), the USP, or the FPC, and the execution team generally does not interact

  with any inmate other than the inmate housed at the execution facility. Watson Dec. ¶ 17. It

  may occasionally be necessary for a member of the execution team to enter the FCI, USP, or

  FPC, “but such occurrences are rare and will be minimized.” Id. And while members of the

  execution team may have some interaction with FCC Terre Haute personnel—for example, when

  they are going through security checkpoints, receiving the inmate, receiving witnesses, or

  discussing operations logistics and equipment—the interactions are usually brief and infrequent,

  and masks and (if possible) social distancing are required. Id.; see also id. ¶ 22 (explaining that

  the same is true of interactions with members of the public). Non-BOP personnel such as media,

  witnesses, legal counsel, and Ministers of Record may not enter the FCI (where plaintiffs reside)

  or interact with any inmate other than the condemned inmate, and visits with the condemned

  inmate take place outside the presence of other inmates. Id. ¶ 19. Masks are again required at all

  times, as is social distancing if possible. Id. After the execution takes place, members of the

  Execution Team have an opportunity to be tested for COVID. Watson Dec. ¶ 23. 11

         FCC Terre Haute staff are advised and encouraged to obtain a test if they had a known

  exposure or experience symptoms, and they may not return to work until they are symptom-free.




  11
    Counsel has been advised that some execution team members have tested positive since the
  date of the last execution. Counsel has further been advised that the team members who tested
  positive are following CDC guidelines in determining whether and when to return to Terre
  Haute.
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  Id.; see also id. ¶ 10 (explaining that staff members who test positive must stay home in

  compliance with current CDC guidelines). If a staff member tests positive for COVID, BOP will

  immediately conduct contact tracing. For example, for the positive-test case disclosed in

  Hartkemeyer v. Barr, No. 2:20-cv-00336-JMS-JLP, BOP conducted contact tracing using both

  video and the staff member’s personal recollection. Watson Dec. ¶ 24. No additional cases of

  COVID-19 were discovered as a result of that contact tracing. Id.

         In addition to the measures specifically relating to executions, the Watson Declaration

  also shows the concerted effort BOP is taking to limit COVID transmission more generally

  within FCC Terre Haute. For example, staff, contractors, and visitors are screened for COVID

  on entry to FCC Terre Haute and are denied entry if their temperature is 100.4 degrees

  Fahrenheit or more. Watson Dec. ¶ 8. As much as possible, staff are kept assigned to the same

  posts, and inmate movement and congregations has been curtailed to maximize social distancing.

  Id. ¶¶ 8, 11. All staff, inmates, and visitors are required to wear masks inside the institution;

  visitors can obtain PPE on request; and social distancing is practiced where possible, consistent

  with CDC guidelines. Id. ¶ 9. Newly admitted inmates are screened and tested for COVID and

  are placed either into isolation or into quarantine before they are introduced to the inmate

  population. Id. ¶ 8. FCC Terre Haute has multiple rapid Abbott test machines, which it uses to

  test symptomatic inmates and asymptomatic inmates who had close contact with an inmate who

  tested positive; if one inmate tests positive, BOP will typically test the rest of the inmates on his

  row of cells and may, if appropriate, lock down and test an entire unit. Id. ¶ 12. Staff have been

  educated about the importance of staying home if they are feeling ill and are required to report

  any known or suspected COVID-19 exposure as well as any positive COVID-19 test. Id. ¶ 10.

  If a staff member tests positive for COVID-19, he or she must stay home in compliance with



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  current CDC guidelines. Id.

         These measures reflect the opposite of deliberate indifference to the risk of COVID

  transmission. BOP’s diligent efforts to reduce the spread of COVID reflect persistent and

  focused work to protect inmates, not “the unnecessary and wanton infliction of pain,” Farmer,

  511 U.S. at 834, or “a total unconcern for the prisoner’s welfare.” Rosario, 670 F.3d at 821.

  And those efforts make clear that conditions at FCI Terre Haute, even when executions are

  taking place at the separate execution facility, do not violate the Eighth Amendment. Helling,

  509 U.S. at 36.

         There is no support for plaintiffs’ apparent contention that a federal sentence can be

  carried out only if the Government successfully eliminates all risk that might be created by that

  sentence. Indeed, the Supreme Court itself has repeatedly held that even the capital inmate

  himself does not have an Eighth Amendment right to “the avoidance of all risk of pain in

  carrying out executions.” Bucklew v. Precythe, 139 S. Ct. 1112, 1125 (2019) (quoting Baze v.

  Rees, 553 U.S. 35, 47 (2008)). As the courts have made repeatedly clear, the Eighth Amendment

  does not require the elimination of all risky or injurious conditions of confinement. See, e.g.,

  Estate of Simpson v. Gorbett, 863 F.3d 740, 746 (7th Cir. 2017) (“The Eighth Amendment

  demands that officials ensure ‘reasonable safety,’ not that they protect against all risks.”); see

  also Hope v. Warden York Cty. Prison, 972 F.3d 310, 330 (3d Cir. 2020) (“Nor does a failure to

  eliminate all risk establish that the Government was deliberately indifferent to their serious

  medical needs.”). The Eighth Amendment does not require that officials “take perfect action.”

  Rosario, 670 F.3d at 822. Plaintiffs’ attempt to wholly bar a legitimate form of punishment, duly

  imposed here on individuals other than plaintiffs for horrific crimes, without regard to the

  penological objectives served by those sentences and for the duration of the COVID-19



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  pandemic, is extraordinary and finds no support in precedent. Indeed, even if plaintiffs were

  correct that executions imposed unacceptable risks on them, the remedy would be to adopt

  additional safety protocols designed to ameliorate those risks—not to halt all federal executions

  until the pandemic has ended, an extraordinarily overbroad remedy.

         There is also no merit to plaintiffs’ suggestion that defendants are “ignoring the CDC’s

  recommendations” by allowing people associated with the executions to enter FCC Terre Haute.

  As explained, BOP has undertaken a rigorous effort to stem the tide of COVID infections, and

  that approach is informed by the recommendations of the CDC and other authorities. Watson

  Dec. ¶ 8. While the CDC recommends that prison administrators discourage “non-essential

  vendors, volunteers, and tours” from visiting their facilities, the guidelines continue to permit

  even social visitation. CDC Guidance; see also Centers for Disease Control and Prevention,

  FAQs for Correctional and Detention Facilities (Dec. 4, 2020),

  https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/faq.html (CDC

  FAQs) (recommending that administrators merely “consider suspending contact visits” if there is

  local COVID spread, and allowing “non-contact visitation” even if the facility has confirmed

  COVID cases). The carrying out of federal executions is not a “visitation program,” nor have

  plaintiffs shown that any “non-essential vendors, volunteers, or tours” are involved in federal

  executions. The CDC guidance further recommends that administrators take various steps—such

  as requiring visitors to wear masks and performing screening and temperature checks on entry—

  that align with BOP’s practices at FCC Terre Haute. Id.; Watson Dec. ¶ 8. Finally, the CDC

  recommendation to “suspend group gatherings” if an inmate in a facility may have COVID, see

  CDC FAQs, plainly does not refer to federal executions, which are not a “group gathering” of

  inmates but the carrying out of a lawful sentence by the government.



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         The CDC recommendations also acknowledge the need for flexibility in the context of

  correctional facilities, noting that the CDC’s guidance “may need to be adapted based on

  individual facilities’ physical space, staffing, population, operations, and other resources and

  conditions.” CDC Guidance. Other courts have correctly relied on that point in rejecting Eighth

  Amendment challenges premised on alleged noncompliance with the recommendations. See

  Swain v. Junior, 961 F.3d 1276, 1288 (11th Cir. 2020) (relying on that language to reject an

  Eighth Amendment challenge based on allegedly inadequate social distancing); see also Roman

  v. Wolf, 977 F.3d 935, 946 (9th Cir. 2020) (holding that an injunction ordering compliance with

  CDC COVID guidelines was improper because, among other things, the recommendations

  themselves acknowledge the need to adapt them to particular circumstances).

         Furthermore, as the Seventh Circuit has recognized, “[t]he CDC Guidelines—like other

  administrative guidance—do not themselves set a constitutional standard.” Mays, 974 F.3d at

  823. Even if FCC Terre Haute’s practices for carrying out the executions did not include some

  practices that the CDC would recommend, the burden would still be on plaintiffs to prove that

  the failure to follow that CDC recommendation shows deliberate indifference to a substantial

  risk to plaintiffs and is conduct that is “reckless in the criminal sense.” Lee, 533 F.3d at 509. As

  the Watson declaration establishes, BOP is working diligently on many fronts to protect inmates,

  staff members, and the public as it carries out its duty to effectuate lawfully imposed

  punishment, and those diligent efforts easily clear any constitutional standard.

         In addition to addressing plaintiffs’ generalized claim that the Constitution prohibits

  defendants from carrying out executions for the duration of the COVID pandemic, defendants

  have also been asked by this Court to answer several questions regarding “actions … the BOP

  [is] taking to comply with CDC guidelines.”



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         •   Are out-of-state BOP Execution Team members quarantining upon their arrival to
             Indiana?

         Members of the BOP Execution Team who arrive from out-of-state do not quarantine on

  their arrival in Indiana, “as they generally arrive only a few days prior to a scheduled execution

  and must complete various time-sensitive tasks upon their arrival.” Watson Dec. ¶ 8. The CDC

  guidelines for correctional institutions do not recommend quarantining staff who have traveled

  from another state. 12 The CDC recommends that institutions “consider quarantining all new

  intakes for 14 days before they enter the facility’s general population,” see CDC Guidelines, but

  the CDC makes no such recommendation for staff. For staff, the CDC guidelines recommend

  doing “verbal screening and temperature checks,” id., which BOP conducts on staff, contractors,

  and visitors. Watson Dec. ¶ 8. And plaintiffs have identified no evidence to suggest that

  members of the BOP Execution Team coming from outside of Indiana are more likely, on

  average, to bring a COVID infection with them compared to staff who live within the state.

         •   Are BOP Execution Team members being tested for COVID-19? With what
             frequency?

         All staff arriving at FCC Terre Haute, including members of the Execution Team,

  undergo temperature checks and COVID screening before entering FCC Terre Haute. Watson

  Dec. ¶¶ 8, 16. Members of the Execution Team are not required to be tested for COVID,

  although they are given the opportunity to be tested. Id. ¶ 23.

         •   Are BOP Execution Team members segregated from other BOP staff?

         Members of the Execution Team are not formally segregated from other BOP staff, but

  the two groups are limited in their interactions. To the greatest extent possible, the Execution



  12
    Likewise, Indiana does not have travel restrictions in place as part of its response to COVID.
  Ind. Dept. of Transp., COVID-19 Response FAQs, https://www.in.gov/indot/4040.htm (visited
  Dec. 5, 2020).
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  Team does not enter FCI, USP, or FPC while at FCC Terre Haute, being primarily engaged in

  duties in and around the execution facility. Watson Dec. ¶ 17. Execution Team members and

  FCC staffers will interact incident to their role in the operation of the execution, although those

  interactions are usually brief and infrequent. Id. All participants in all such interactions are

  required to wear masks at all times and, to the extent possible, remain socially distanced. Id.

         Beyond their mistaken reliance on CDC guidance, plaintiffs go further afield in their

  invocation of the Governor of Indiana’s emergency restrictions. They contend that, because the

  Governor has restricted “events”—such as “concerts,” “festivals,” “carnivals,” and

  “parades” 13— in “orange” counties like Vigo County to fifty people or fewer, defendants are

  unjustifiably “[i]gnoring … the recommendations of local authorities.” Pl. Memo. at 25. Of

  course, the Governor’s directive to the people of Indiana on concerts and parades does not

  address the federal government’s carrying out of federal executions in federal correctional

  facilities. Thus, there is no recommendation to consider. The interests underlying an execution

  for a heinous federal crime are quite different from those underlying a concert, festival, carnival,

  or parade, and plaintiffs cannot establish that defendants violate their Eighth Amendment rights

  by proceeding with an execution, under carefully controlled circumstances, of other inmates at

  another facility to vindicate the penological interests underlying duly imposed sentences.

         Plaintiffs have failed to carry their burden of showing that defendants are acting with

  deliberate indifference to any risk of COVID transmission. The evidence in this case shows that

  BOP is diligently taking steps to prevent the transmission of COVID at FCC Terre Haute,

  including during executions. Because Plaintiffs cannot establish a likelihood of success on the




  13
     Executive Order 20-48, State of Indiana 8 (Nov. 13, 2020),
  https://www.in.gov/gov/files/Executive_Order_20-48_Color-Coded_County_Assessments.pdf.
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  merits, “the court must deny the injunction.” GEFT Outdoors, LLC v. City of Westfield, 922

  F.3d 357, 364 (7th Cir. 2019).

  III.   PLAINTIFFS FAIL TO SHOW IRREPARABLE INJURY

         Because plaintiffs have failed to establish a likelihood of success on the merits, the Court

  need not proceed further to consider the remaining preliminary injunction factors. See GEFT

  Outdoors, 922 F.3d at 367–68 (noting that if a plaintiff cannot show a likelihood of success on

  the merits of his claim, “there [is] no need for the district court to conduct further analysis of the

  ‘threshold phase’ for preliminary injunctive relief, or to move to the ‘balancing phase’”); accord

  Lankford v. Talbot Dr., No. 1:18-cv-03935, 2020 WL 2128580, at *1 (May 5, 2020) (quoting

  same). This approach is consistent with the Supreme Court’s application of the preliminary

  injunction standard in Eighth Amendment method-of-execution challenges, where an inmate’s

  failure to establish a likelihood of success alone warrants denial of the inmate’s motion to

  preliminarily enjoin his execution. See Glossip v. Gross, 576 U.S. 863, 877–78 (2015).

         Even if the Court were to proceed, however, it should find that plaintiffs have failed to

  show the requisite irreparable harm that is necessary to justify an injunction. Plaintiffs speculate

  that absent injunctive relief, they “could likely contract COVID-19.” Pl. Memo. at 21. As

  explained above, the speculative chain of events on which this conjecture is based does not

  support the conclusion that executions are “likely” to result in plaintiffs’ becoming infected. See

  supra II.A.1. The mere “possibility” of viral exposure does not “demonstrate that irreparable

  injury is likely in the absence of an injunction,” Winter, 555 U.S. at 22, especially given the

  virus-related precautions BOP has taken and offered plaintiffs. See Watson Dec. ¶¶ 8-12, 15-17,

  19-23. All of the precautions minimize the likelihood of plaintiffs’ contracting COVID-19 as a

  result of executions that take place at Terre Haute and minimize any risk of irreparable harm.



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         And plaintiffs’ assertion of harm is diminished by their own delay until November 30 in

  seeking relief. The executions to take place on December 10 and 11 were scheduled on October

  16 and November 20, respectively. Watson Dec. ¶ 4 n.2, n.3. Eight executions have taken place

  since July. There is no reason that plaintiffs could not much sooner have made their

  extraordinary request that executions be halted.

  IV.    THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST WEIGH
         AGAINST A PRELIMINARY INJUNCTION HALTING ALL FEDERAL
         EXECUTIONS

         Because plaintiffs’ arguments are not likely to succeed on the merits and because they

  have failed to show irreparable harm, this Court need not consider the remaining injunction

  factors. See GEFT Outdoors, 922 F.3d at 364. Should the Court proceed further, however, the

  equities weigh heavily against issuing an injunction. See Winter, 555 U.S. at 32.

         Plaintiffs cannot dispute the Government’s overwhelming interest in the timely

  enforcement of criminal sentences imposed by unanimous federal juries after fair trials and

  upheld through extensive appellate and post-conviction proceedings in federal courts. See

  Bucklew, 139 S. Ct. at 1133. The American people have chosen to make capital punishment

  available in the federal system. Id. at 1123. If that decision is to be given meaningful effect,

  sentences must be enforced. Although plaintiffs argue that there is no undue harm in “delaying

  further executions until the pandemic is under control,” Pl. Memo. at 21, such an indefinite delay

  is inconsistent with the Supreme Court’s teaching that “[b]oth the [government] and the victims

  of crime have an important interest in the timely enforcement of a [death] sentence,” Bucklew,

  139 S. Ct. at 1133 (quoting Hill v. McDonough, 547 U.S. 573, 584 (2006)); see also Calderon v.

  Thompson, 523 U.S. 538, 556 (1998) (explaining that once post-conviction proceedings “have

  run their course . . . finality acquires an added moral dimension”). “Only with an assurance of



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  real finality can the [Government] execute its moral judgment in a case,” and “[o]nly with real

  finality can the victims of crime move forward knowing the moral judgment will be carried out.”

  Id. at 556. Unduly delaying executions can also frustrate the death penalty by undermining its

  retributive and deterrent functions. See Bucklew, 139 S. Ct. at 1134; id. at 1144 (Breyer, J.,

  dissenting).

         Indeed, the Supreme Court has routinely denied stay-of-execution applications even by

  condemned inmates while their challenges to execution protocols were pending. See Storey v.

  Lombardi, 135 S. Ct. 1198 (2015) (mem.) (denying stay-of-execution applications by Missouri

  inmates while challenges to Missouri’s single-drug pentobarbital protocol were pending), and

  Warner v. Gross, 135 S. Ct. 824 (2015) (mem.) (same, involving a challenge to Oklahoma’s

  execution protocol). It defies belief that these plaintiffs’ asserted harm (which hinges not on

  anything related to the executions, but rather a speculative increase in risk from COVID-19)

  merits a suspension of all executions for an indefinite period until the COVID-19 crisis subsides,

  when the Supreme Court has rejected similar requests from inmates themselves.

         Moreover, whatever harms flow to plaintiffs from an alleged increase in COVID-19, they

  do not outweigh the government’s interest in carrying out scheduled executions after lengthy

  post-conviction review periods. Cf. In re Federal Bureau of Prisons’ Execution Protocol Cases,

  955 F.3d 106, 129 (D.C. Cir. 2020) (Katsas, J., concurring) (noting that federal courts “should

  not assist” attempts “to delay lawful executions indefinitely”); LeCroy v. U.S., 975 F.3d 1192,

  1196 (11th Cir. 2020) (finding that courts are not vested “with a free-floating, standardless

  reservoir of authority to postpone an already-scheduled execution, free and clear of the

  traditional stay standard”); U.S. v. Lee, No. 4:97-cr-00243-LPR-2, 2020 WL 3921174, at *5

  (E.D. Ark. July 10, 2020) (leaving to the Executive Branch the judgment about whether to move



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  ahead with executions during the COVID-19 crisis). That interest is particularly acute given the

  scheduling and operational difficulties surrounding executions. See, e.g., Exhibit 2, Declaration

  of Kevin Pistro (ECF No. 27-2) ¶ 8. Indeed, even where an inmate himself directly challenges

  the method of execution, the Supreme Court has warned that courts must “police carefully

  against attempts to use such challenges as tools to interpose unjustified delay,” Bucklew, 139 S.

  Ct. at 1134, which can even “undermine [capital punishment’s] jurisprudential rationale by

  reducing its deterrent effect and retributive value,” id. at 1144 (Breyer, J., dissenting) (alternation

  in original) (quotation marks omitted). Cf. Peterson, 965 F.3d at 553 (rejecting plaintiffs’

  attempt to enjoin BOP from carrying out execution because BOP “has the unconstrained

  discretion to choose a date for the execution”).

            Finally, the Government’s interest in implementing the sentences of the inmates to be

  executed is “magnified by the heinous nature” of their offenses. See, e.g., Execution Protocol

  Cases, 955 F.3d at 127 (Katsas, J., concurring). The condemned inmates at issue here were duly

  convicted and sentenced to capital punishment. The sentences of those inmates have been

  upheld throughout their many years of direct and post-conviction review, and despite plaintiffs’

  attempt to relitigate those convictions here, see Pl. Memo. at 5 n.7, 6 n.8, this Court is not the

  proper forum to do so. Plaintiffs’ contention that their interest in postponing the executions

  outweighs the Government’s interest in finally implementing the lawful capital sentences the

  inmates incurred finds no support in equity. For all these reasons, the balance of equities tips

  against granting a preliminary injunction.

                                             CONCLUSION

            For the foregoing reasons, plaintiffs’ motion for a preliminary injunction should be

  denied.



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  Dated: Dec. 5, 2020                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 5, 2020, the foregoing was filed electronically through

  ECF/CM. On this same date, electronic service will be made to all counsel of record through the

  Court’s ECF/CM system.



                                                      /s/ Jordan L. Von Bokern
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